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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   MICHELLE CARPINELLI,                                CASE NO. 15-CV-00904-H
     Individually and on Behalf of all Other             (BGS)
12   Similarly Situated,
                                                         ORDER GRANTING
13                                    Plaintiff,         SECOND JOINT MOTION
            vs.                                          FOR DISMISSAL
14
                                                         [Doc. No. 14]
15   PHILLIPS & COHEN ASSOCIATES,
     LTD.,
16
                                    Defendant.
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18         On April 23, 2015, Plaintiff Michelle Carpinelli filed a putative class action
19 against Defendant Phillips & Cohen Associates, Ltd. (Doc. No. 1.) On October 9,
20 2015, the parties filed a joint motion to dismiss the case in its entirety without prejudice
21 pursuant to Federal Rule of Civil Procedure 41. (Doc. No. 12.) On October 9, 2015,
22 the Court granted the joint motion to dismiss and dismissed the case without prejudice
23 in its entirety. (Doc. No. 13.)
24         On November 23, 2015, the parties again filed a joint motion to dismiss. (Doc.
25 No. 14.) Although the parties fail to explain in the motion why they have again moved
26 to dismiss the action even though it has already been dismissed by the Court, it appears
27 that the parties filed the second motion to dismiss to clarify that Plaintiff’s individual
28


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 1 claims should be dismissed with prejudice. Accordingly, for good cause shown, the
 2 Court grants the joint motion and dismisses the action with prejudice as to Plaintiff’s
 3 individual claims only.
 4        IT IS SO ORDERED.
 5 Dated: November 23, 2015
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                                                   MARILYN L. HUFF, District Judge
 7                                                 UNITED STATES DISTRICT COURT
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